                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA     )
                             )
     v.                      )                        NO. 3:25-cr-00115
                             )
                             )                        JUDGE CRENSHAW
                             )
KILMAR ARMANDO ABREGO GARCIA )


                  WITNESS LIST FOR EVIDENTIARY HEARING
            ON GOVERNMENT’S MOTION TO REVOKE RELEASE ORDER

       The United States of America, by and through Robert E. McGuire, Acting United States

Attorney, pursuant to this Court’s Order (DE # 56) submits this list of potential witnesses who the

United States may call at the evidentiary hearing in this matter set for July 16, 2025, at 1:00 p.m.:

           1. Special Agent Peter Joseph, Homeland Security Investigations (HSI): SA Joseph is

               the case agent and will testify about his review of the body worn camera (BWC)

               footage from the November 30, 2022, traffic stop and his interviews with multiple

               witnesses during the course of the investigation.

                                                              Respectfully Submitted,

                                                               /s/ Robert E. McGuire
                                                              Robert E. McGuire
                                                              Acting United States Attorney
                                                              719 Church Street, Suite 3300
                                                              Nashville, TN 37203

                                                              /s/ Jacob Warren
                                                              Jacob Warren
                                                              Co-Director, Task Force Vulcan

                                                              /s/ Christopher Eason
                                                              Christopher Eason
                                                              Co-Director, Task Force Vulcan



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                                               /s/ Jeremy Franker
                                               Jeremy Franker
                                               Deputy Director, Task Force Vulcan

                                               /s/ Jason Harley
                                               Jason Harley
                                               Task Force Vulcan




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